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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )            MDL No. 2738 (MAS) (RLS)
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To All Cases  )
                                      )

      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
    REQUEST FOR ORDER COMPELLING PRODUCTION OF EXPERT
                     WITNESS INVOICES




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                                  INTRODUCTION

        Plaintiffs have proffered over two dozen expert witnesses in the six bellwether

  cases, and over a dozen of them were deposed or re-deposed in 2024 alone. In each

  case, Defendants’ notice of deposition called for production of “records of payments

  of any kind received by You from any source related to your work as a testifying

  expert regarding Talc or the Talc Products in connection with claims or litigation.” 1

  Plaintiffs consistently objected to that request as “overly broad” and agreed only to

  produce “any invoices related to the MDL talcum powder litigation.” But now,

  having taken the position that their own experts need not produce invoices from

  litigation other than this MDL, Plaintiffs demand that Defendants’ experts produce

  invoices not only for non-MDL ovarian cancer cases, but also for cases that do not

  even involve the alleged injury at issue in this MDL.2

        The PSC argues in effect that defense experts’ total compensation across all

  talcum powder products cases is the proper number to show this Court and future



  1
    For experts who had been deposed previously in this MDL, this request was
  qualified to seek only records “since the date of your last MDL deposition.”
  2
    The PSC failed to raise the issues addressed herein during the course of expert
  discovery as dictated by the governing scheduling order (Dkt. No. 32991), failed to
  confer as required by L. Civ. R. 37.1 before filing the letter-request, and failed to
  comply with the requirements for a motion in L. Civ. R. 7.1 and 37.1 by presenting
  this request as an informal letter (ECF No. 33052). In addition to the substantive
  arguments raised herein, Defendants object to the PSC’s request as procedurally
  improper.
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  juries when arguing that the experts are biased. The PSC claims to have produced

  all invoices in its own present possession – conveniently limited to MDL cases and

  omitting the myriad invoices from other talcum powder products cases, even where

  those invoices document work that directly contributed to the experts’ MDL

  opinions – but effectively ask that the Defendants do more.          This request is

  inherently asymmetric and prejudicial.    If Plaintiffs get their way, Defendants will

  only be privy to Plaintiffs’ experts’ compensation from firms that have primarily

  pursued their cases in the MDL, not even the full breadth of invoices for all work

  that made up their MDL opinions and reports, but Plaintiffs will have access to and

  the ability to present evidence concerning all work related to talcum powder products

  that Defendants’ experts have undertaken. Thus, what the PSC really seeks is fuel

  for an apples-to-oranges comparison that makes defense experts seem far more

  highly compensated – and biased – than Plaintiffs’ experts.

        Defendants request that the Court deny Plaintiffs’ informal request and limit

  the discovery to the material Plaintiffs have otherwise been providing in connection

  with their own experts, i.e., invoices for work undertaken in connection with the

  MDL bellwether cases.      Alternatively, if the Court is inclined to go further, the

  Court should rule symmetrically and require (1) that Plaintiffs first produce all

  invoices from their experts for all talcum powder work, not just the invoices that Ms.

  O’Dell and Ms. Parfitt have in their possession; and (2) only after those invoices

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  have been received and it is clear that no additional and asymmetrical and arbitrary

  line drawing has occurred, Defendants to produce the same. Regardless of how the

  Court rules on Plaintiffs’ informal request, the Court’s order should place symmetric

  burdens on the parties and follow the order of production contemplated by the

  governing scheduling order (Dkt. No. 32991) – Plaintiffs should be required to

  produce their experts’ invoices from a specified scope of cases (to be defined by

  reference to the experts’ roles in those cases, and not by counsel’s or the parties’

  roles), and Defendants should be required to produce invoices from the same scope

  of cases only after Plaintiffs have complied.

                                   BACKGROUND

        The PSC claims – without evidentiary support – that “Defendants already

  have the invoices for Plaintiffs’ experts” (ECF No. 33052 at 1). However, its next

  line is telling: “in many instances, Plaintiffs have provided J&J with all Plaintiffs’

  expert witness invoices in Plaintiffs counsel’s possession.” (Id., emphasis added.)

  This careful wording reflects the reality – the PSC has produced, for a subset of its

  experts, the invoices that the PSC happened to have in its possession already. The

  PSC has not in fact produced all of its experts’ invoices for all ovarian cancer and

  mesothelioma cases, from all counsel who have retained and worked with these same

  experts across the country, including cases not selected for MDL bellwether work

  up.


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        Indeed, the PSC has not even produced all of the invoices for work on which

  its experts base their opinions in this MDL. For example, the PSC’s expert Dr.

  William Longo states in his MDL report that he has served “as an expert witness

  regarding [his] analysis of cosmetic talc powder products in more than 30 cases by

  courts across the country in 8 states.” (Ex. A to Certification of Susan M. Sharko

  (“Sharko Cert.”), May 2, 2024 Supplemental Expert Report of W. Longo, Ph.D., at

  5.) Yet Dr. Longo refused to say at deposition how much he had been compensated

  even for conducting the tests on which his MDL report was based, citing

  confidentiality concerns due to the involvement of counsel other than the PSC and

  refusing “unless we can come to an agreement . . . that these invoices were produced

  from both sides.” (Sharko Cert. Ex. B, May 2, 2024 Deposition of William Longo,

  Ph.D., at 180:15-184:6.). When asked how much money his firm had been paid “by

  plaintiffs’ lawyers for the PLM chrysotile studies that are contained in Dr. Longo’s

  fourth supplemental MDL report dated April 29th, 2024,” Dr. Longo responded that

  he “would just be speculating. I have no idea on what the amounts would be for all

  - - for the different plaintiffs that we’ve done work for.” (Id. at 183:23-184:13.)

        Likewise, the PSC has repeatedly objected to J&J’s document requests for

  expert invoices reflecting all work on “talc litigation” as overly broad and beyond

  the scope of discovery before agreeing to produce “invoices related to the MDL

  talcum powder litigation.” (E.g., Sharko Cert. Ex. C, PSC’s May 1, 2024 Responses

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  and Objections to Longo Notice of Deposition, at 3 [Response to Request No. 2].)

  Yet now, by their informal request for Court intervention, Plaintiffs seek to compel

  the Defendants to do the very thing they themselves refused to do.     This double

  standard should not be countenanced by the Court.

                                    ARGUMENT

  I.    PLAINTIFFS’ REQUEST IS NOT PROPORTIONAL TO THE NEEDS
        OF THE CASE.
        “Parties may obtain discovery regarding any nonprivileged matter that is

  relevant to any party's claim or defense and proportional to the needs of the case.”

  Fed. R. Civ. P. 26(b)(1) (emphasis added). In considering whether a request for

  discovery is proportional, the Court should consider among other things “the

  importance of the issues at stake in the action,” “the parties’ relative access to

  relevant information,” and “whether the burden or expense of the proposed

  discovery outweighs its likely benefit.” Id. “Pursuant to Rule 26, courts have broad

  authority to impose limits on otherwise relevant discovery when the discovery

  sought is unreasonably cumulative, or where the burden or expense of discovery

  outweighs its likely benefit.” In re Novo Nordisk Sec. Litig., 530 F. Supp. 3d 495,

  504 (D.N.J. 2021) (citing Fed. R. Civ. P. 26(b)). “This rule of proportionality

  ‘guard[s] against redundant or disproportionate discovery by giving the court

  authority to reduce the amount of discovery that may be directed to matters that are

  otherwise proper subjects of inquiry.’” Id. (quoting Bowers v. NCAA, Civ. No. 97-

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2600, 2008 WL 1757929, at *4–6 (D.N.J. Feb. 27, 2008)). Thus, for example, courts

may properly exclude evidence from the scope of discovery where its “marginal

relevance” does not justify production. See, e.g., Pub. Serv. Enter. Grp. Inc. v.

Philadelphia Elec. Co., 130 F.R.D. 543, 554 (D.N.J. 1990).

      Although “Rule 26(a)(2)(B) requires disclosure of the compensation received

by a retained expert in the particular case at issue, and counsel routinely bring this

out during cross-examination when questioning an opposing expert witness,”

discovery of an expert’s total compensation from serving as an expert “should not

be ordered routinely.” Behler v. Hanlon, 199 F.R.D. 553, 561-62 (D. Md. 2001).

“[L]egitimate issues are raised” when a party seeks evidence about an expert’s

compensation other than for the case at issue solely to prove bias, and so courts can

and should require a showing as to “why less intrusive financial information would

not suffice.” Id. at 561; see also Young v. Pleasant Valley Sch. Dist., No. 3:07-CV-

854, 2011 WL 3678691, at *1-2 (M.D. Pa. Aug. 20, 2011) (collecting cases) (where

expert had already disclosed his compensation in the case at issue, the opposing

party’s demand for additional information about his compensation in other cases was

“needlessly intrusive especially in light of the information's marginal relevance”);

Reed v. Cline, No. 1:08-CV-00473-SEB, 2010 WL 3829459, at *2 (S.D. Ind. Sept.

24, 2010) (rejecting request for additional disclosures into expert’s compensation

where “further disclosures . . . would invade his privacy without providing any

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additional helpful information relevant to his bias as an expert witness”). Courts

recognize that requiring disclosure of an expert’s compensation other than for work

in the case at issue has a “chilling effect” that should be considered when

determining whether to permit discovery that is meant solely to probe the expert’s

bias. See, e.g., Behler, 199 F.R.D. at 561-62; Campos v. MTD Prod., Inc., No. 2:07-

0029, 2009 WL 920337, at *5 (M.D. Tenn. Apr. 1, 2009).

      Moreover, in the MDL context, there is an inherent risk that showing even an

expert’s total compensation across the MDL itself – without factoring in the expert’s

compensation in related non-MDL cases – can be confusing or misleading for jurors.

See, e.g., McCracken v. DePuy Orthopaedics, Inc., No. 11 DP 20485, 2013 WL

12141334, at *3 (N.D. Ohio July 26, 2013) (“The amount of fees paid to Defendants’

experts in this specific litigation is a proper subject of inquiry at trial. However, to

allow Plaintiff to inquire on the totality of fees generated in this MDL would, in this

Court's view, open the door to misleading information and juror confusion.”).

Evidence of an expert’s non-MDL compensation can lead jurors to speculate as to

the existence of other lawsuits.       Indeed, if jurors hear the parties experts’

compensation across all talcum powder products cases without knowing or assuming

that the figures encompass other cases, they may erroneously infer that the parties’

willingness to spend those figures means the case at issue must be meritorious.




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      The PSC argues that an expert’s total compensation – for all talcum powder

products litigation, apparently – is relevant to probe the expert’s bias.            But

Defendants have already produced all of their experts’ invoices for work performed

in the MDL.3 The PSC already has the means to show jurors how much the opposing

experts have been paid for work on the cases that are before them. It never explains

why that information does not suffice, let alone demonstrate how the additional

information it now seeks would add to the analysis.

      In fact, given the current state of the parties’ relative disclosures, granting the

PSC’s request without ordering analogous discovery from the PSC’s own experts

would affirmatively interfere with the bias analysis and introduce the “confusion,

distraction and even prejudice” that concerned the Behler court. 199 F.R.D. at 561-

62; see also McCracken, 2013 WL 12141334, at *3. As illustrated by the example

of Dr. Longo, Defendants do not even have the ability to show the jury the total

amount that the PSC’s experts have been compensated for formulating the opinions

they seek to offer in the MDL. What the PSC wants now is to exacerbate that

asymmetry even more, learning defense experts’ total compensation across all cases




3
  The PSC does not argue otherwise. Indeed, its only complaint is that “J&J is now
insisting on producing invoices related to the work performed by its experts for this
MDL only.” (ECF No. 33052 at 1.)

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without disclosing that information for its own experts. That is the “need” to which

the discovery at issue must be proportional.

      Here the PSC already has access to the same level of information as

Defendants – if not more – regarding opposing experts’ compensation. They do not

need to obtain still more information in order to remedy any asymmetry; in fact, they

seek to create or exacerbate an asymmetry in their favor. And Rule 26 requires the

Court to consider “whether the burden or expense of the proposed discovery

outweighs its likely benefit.”     There is no benefit to allowing the one-sided

discovery the PSC seeks, whereas permitting the discovery would not only impose

a burden on Defendants to collect, redact, and produce invoices in myriad cases but

then to seek exclusion of its experts’ total compensation at trial and/or to face

prejudice when Plaintiffs draw a misleadingly asymmetric contrast between defense

expert total compensation and plaintiff expert MDL-only compensation.

      Defendants respectfully submit that the PSC does not even have a legitimate

need for the non-MDL invoices they seek in light of the fact that the parties presently

have symmetric means of demonstrating compensation-related bias in opposing

experts. But even if there were a legitimate need, the PSC has offered no argument

or evidence showing that the need is substantial enough to justify production under

the Rule 26(b)(1) factors without ordering the PSC to produce analogous




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documentation regarding its own experts. The Court should therefore deny the

PSC’s letter-request.

II.   PLAINTIFFS’ CITED AUTHORITY DOES NOT COUNSEL FOR
      PRODUCTION OF DEFENSE EXPERT INVOICES BEYOND THOSE
      IN THE MDL.
      None of the cases cited by the PSC address the peculiar proportionality

considerations involved here.    To be clear, the PSC asks the Court to order

Defendants to produce its experts’ invoices, without date limitation, across a mass

tort litigation spanning numerous jurisdictions with differing confidentiality rules

(with no apparent exception for work in reviewing cases for which the experts have

not been disclosed), regardless whether that work even pertains to the injuries

alleged in this MDL. And it completely ignores the fact that granting that request,

without ordering Plaintiffs’ own experts to produce that same scope of invoices,

would serve not a legitimate purpose but rather just enables Plaintiffs to present a

misleading and prejudicial comparison of the parties’ experts’ relative

compensation. Yet most of the PSC’s authority focuses on trial admissibility rather

than on discoverability, and none of the cases address the peculiar burdens,

complexities, or asymmetries inherent in the PSC’s request.

      For example, the PSC cites First Choice Armor & Equipment, Inc. v. Toyobo

America, Inc., 273 F.R.D. 360, 361 (D. Mass. 2011), for the proposition that

evidence of compensation in the case at bar “and related cases” was relevant to


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demonstrate possible bias. But that case recognized that a party “must” disclose the

compensation to be paid to its experts for study and testimony in the case at hand,

whereas “some courts” additionally “allow” discovery into the expert’s

compensation in other cases. Id. This contrast implicitly recognizes the difference

in value and burden for producing an expert’s compensation in the case at hand

versus in other litigations with more remote connection, if any, to the action in which

the request is made.

      A similar thread undergirds another case cited by the PSC – Good v.

FirstEnergy Corp., 2016 U.S. Dist. LEXIS 15311, at *15-16 (M.D. Pa. Feb. 9,

2016). Good addressed the trial admissibility of unspecified “evidence regarding

fees received by defendant’s expert” from more than just one year prior to trial. In

wrestling with that issue, Good discussed a relevant case that the PSC ignores:

Bridges v. O'Hearn, No. 3:10cv1065, 2012 U.S. Dist. LEXIS 6910, at *9 (M.D. Pa.

Jan. 20, 2012). In Bridges the court permitted only limited questioning about an

expert’s compensation in cases other than the one at hand. Bridges’ recognition of

the diminishing value of increasingly attenuated evidence of bias illustrates the

“marginal” relevance of what the PSC seeks.

      Ultimately, the PSC’s authority proves at most that invoices in related

litigation can be relevant to showing an expert’s bias. But if that is true, it is equally

true of both parties’ experts.        And, as noted in the cases cited above, the

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discoverability analysis does not end with relevance but encompasses

proportionality. Thus, the PSC’s refusal to produce non-MDL invoices for its own

experts is a key factor to consider when evaluating the PSC’s request. None of the

PSC’s cases suggest that Defendants, having already given the PSC evidence that

enables the PSC to present an apples-to-apples comparison of the parties’ experts’

compensation, must produce still more evidence so that the PSC can present a one-

sided apples-to-oranges comparison that favors Plaintiffs.

                                  CONCLUSION

      The PSC already has the same scope of opposing expert invoices that the PSC

itself has produced – invoices submitted in the MDL. The parties are already able

to argue that opposing experts are highly compensated and, thus, biased. Unless and

until the PSC agrees to produce a broader scope of its own experts’ invoices,

Defendants should not be required to produce a broader scope of their experts’

invoices. Defendants therefore request that the Court deny the PSC’s informal letter-

request. If the Court is unwilling to do so, it should issue an order that is symmetric

and follows the order of production contemplated in the governing scheduling order

– after Plaintiffs produce all invoices of their own experts across all talcum powder

products litigation, then Defendants will do the same.

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Dated: August 27, 2024           Respectfully submitted,

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